Case 2:90-cv-00520-KJM-SCR Document 2725-4 __ Filed 03/14/08 Page 1of14

EXHIBIT 4
Case 2:90-cv-00520-KJM-SCR Document 2725-4 Filed 03/14/08 Page 2 of 14

PHARMACY MANAGEMENT CONSULTING
SERVICES

Monthly Summary Report
To The
California Prison Health Care
Receivership Corporation

October 2007
Case 2:90-cv-00520-KJM-SCR Document 2725-4 Filed 03/14/08 Page 3 of 14

PHARMACY MANAGEMENT CONSULTING SERVICES

Monthly Summary Report
October 2007

Summary of Activities for October

Since commencement of Maxor’s contract on January 1, 2007, the collective efforts of
the pharmacy improvement project have been progressing well and have paved the way
for many exciting changes and opportunities within CDCR. Along with the many
successes have also come unique challenges which have required multidisciplinary
involvement from both the Office of the Receiver and CDCR medical and security
personnel, The joint collaboration has forged relationships which are serving to ensure
the establishment of a safe and efficient medication delivery system.

During this critical first year of the Road Map implementation, Maxor has encountered
unforeseen barriers and identified needs that have affected Road Map timelines. In an
effort to adequately address these concerns and align the Road Map with the CPR Plan of

~ Action (POA), proposed changes in Road Map objectives and timelines have been
provided to the Office of the Receiver. Any and all changes requested were made in an
attempt to prioritize objectives and better coordinate efforts between Maxor and other
ongoing CPR initiatives.

During the reporting period, Maxor continued to actively recruit for clinical pharmacy
specialist (CPS) positions, Recruitment activities for the month of October included local
and regional advertisements as well as attendance at two large pharmacy conventions,
American College of Clinical Pharmacy (ACCP) and the California Society of Health-
Systems Pharmacists (CSHP). A clinical pharmacist training session was also held
during the month of October to orient the three new clinical specialists and assign clinical
responsibilities. ,

In September 2007, Maxor determined that many facilities had not begun mandated
formulary implementation measures as earlier reported. An implementation grid was
created to assess each facility’s degree of compliance with formulary implementation.
The grid was provided for P&T Committee review and discussion in October 2007. In
addition, the clinical pharmacists were also instructed in ways to help their assigned
facilities make the transition. For those facilities on GuardianRx® (MCSP and FOL), a
nonformulary rejection feature has been added that flags nonformulary prescriptions
requiring intervention prior to dispensing. This feature will become active on November
1, 2007. It is important to note that although several facilities did nothing to prepare for
the mandated September 30, 2007 formulary compliance, there are many facilities that
have been working hard over the past several months to make the necessary transition.

New data made available by GuardianRx® is being used to manage the implementation of
the formulary as well as pharmacy workflow at Mule Creek and Folsom. The new

October 2007 Monthly Report ;" 2
Case 2:90-cv-00520-KJM-SCR Document 2725-4 Filed 03/14/08 Page 4 of 14

reporting capabilities provide valuable tools to help pharmacists-in-charge better manage
their services. Implementation of the Pharmacy Services and Quality Improvement
Measures has helped to identify process failure points in the medication management
process. Information gained has been directed towards resolving problems that interrupt
the efficient provision of services. The measures were distributed to all thirty-three
facilities with direction to initiate data collection in October 2007. GuardianRx®
implementation has begun at California Men’s Colony (CMC) and is expected to go live
on November 13, 2007. The next five sites for GuardianRx® implementation are CSP
SAC, COR, SATF, HDSP, and CCC. Group training for these facilities will begin in
November 2007. With Guardian in two sites and a third one soon, Maxor has begun
development of facility level and provider level report cards to use for educational
purposes,

An RFP for the general pharmaceutical wholesaler was released on September 25, 2007.
Responses have been received from vendors, and, wili be evaluated during the month of
November 2007 for selection by a multidisciplinary committee from Maxor, the Office of
the Receiver and CDCR Plata Compliance Division. Target award and implementation
of the new wholesaler contract is January 1, 2008.

Efforts in the concepts of pharmacy operations centralization have continued, to include
meetings with the Receiver, and, requests to the Department of General Services for
availability of State properties for such a venture were made. A written response by DGS
has noted (dated October 26, 2007) no State properties are available in the Sacramento
area meeting the necessary needs of the project. DGS has offered assistance in locating
available properties, and that offer is currently under consideration.

In October 2007, Maxor was able to provide $130,788 in cost avoidance by directly
working with the facilities to ensure the correct contracted items were purchased and an
additional $121,675 by working with the wholesaler to ensure the best price contracted
items were sufficiently stocked at the regional distribution centers. P&T initiatives are
beginning to show significant cost savings through therapeutic category 1 reviews and
selection of preferred formulary agents. The decision to remove Lipitor® from the
formulary and use generic Zocor® as the preferred statin has resulted in a cost avoidance
of approximately $380,000 per month for the months of September and October 2007.
Selection of a preferred generic nasal steroid has also resulted in a cost avoidance of
approximately $149,000 per month for September and October. Cost savings will
continue to increase as the formulary is fully implemented and contracts on additional
preferred agents are finalized.

October 2007 Monthly Report

Case 2:90-cv-00520-KJM-SCR Document 2725-4 Filed 03/14/08 Page 5 of 14

Summary of Changes to Timeline

In the sections below, a listing of objectives completed, objectives delayed, objective
timelines proposed for change (subject to review and approval of CPR) and a listing of
timeline changes that have been approved by the CPR are provided.

Objectives Completed

e Objective A.l. A central pharmacy services administration, budget and
enforcement authority was established on January 23, 2007.

e Objective A.2. Direct lines of authority were established to all pharmacy
services personnel and linkages to central medical staff were defined.

e Objective B.1. A revised and reconstituted Pharmacy & Therapeutics Committee
was established. Meetings are held the second Tuesday of each month. Current
membership includes representation from central, regional and institutional level
providers, as well as experts representing Coleman and Perez issues.

* Objective B.4: Develop and implement an effective and enforceable institution
audit process.

e Objective C.1: Monitor wholesaler (vendor) to ensure contract compliance.

e¢ Objective D.3: Develop an effective means of documenting and tracking
employee training, education, performance, and disciplinary action.

Objectives Delayed

e All objectives except for F.2 (connectivity), C.5 (340B pricing) and Al.1 (hiring
clinical specialists) are progressing according to schedule. Guardian
implementation will be delayed in the Initiative tracking grid.

Objective Timelines Proposed for Change

In an effort to consolidate agreed upon changes in objectives occurring in the first year of
the Roadmap project and to align with the CPR Plan of Action (POA), changes to the
Roadmap objectives were provided to the Office of the Receiver in early October 2007
(see attachment D), During the initial year of the implementation of the Maxor
Roadmap, barriers and identified needs were observed that affected timelines. As a
result, recommended adjustment to the Roadmap timelines are presented in Appendix C
[version 10.03.07 draft] for consideration.

Objective Timeline Change Approvals

*® Objective C.2.1 — Completion of a system-wide baseline inventory in the first
quarter. The baseline inventory included only controlled substances. A full
inventory will be conducted at each facility as the pharmacy operating system
(Guardian RX) is implemented. Each facility pharmacy will also be inventoried
by the wholesaler as part of the wholesaler contract requirement. Maxor
completed a complete inventory of narcotics as part of the baseline surveys.

e Objective F.2 — Establish basic connectivity in all pharmacies in the first quarter.
A timeline extension of an additional 90 days has been approved.

October 2007 Monthly Report

Case 2:90-cv-00520-KJM-SCR Document 2725-4 Filed 03/14/08 Page 6 of 14

Issues or Obstacles to Success

¢ GuardianRx® Implementation. A modified implementation plan has -been
approved by the Office of the Receiver to allow for the rapid deployment of
GuardianRx® to CDCR facilities. This rapid deployment plan will allow for the
timely provision of much needed data for reporting and monitoring purposes. A
modified staffing model to accommodate more Guardian teams and drop-in
support was approved to help expedite Guardian implementation and support
immediate and critical operational support needs as identified in the CDCR
pharmacies. Maxor is actively recruiting to fill the newly approved Drop-In
Team positions.

e Contracting. Efforts to assist the CDCR in obtaining direct contracts with P&T
approved drug manufacturers has been challenging. Additional state mandated
requirements has complicated and delayed the process, Maxor remains
committed to helping the CDCR achieve the best available purchasing options by
continually engaging CDCR contracting regarding identified obstacles to
progress,

¢ State-wide Implementation of Initiatives. Ongoing implementation of new
procedures, operational changes and quality improvement activities has been
slower than anticipated due to deficits in facility level management
experience/skill and infrastructure problems greater than originally identified.
The result is that more direct, hands-on support is required by Maxor staff to
support and facilitate process change and mentor staff.

October 2007 Monthly Report

Case 2:90-cv-00520-KJM-SCR Document 2725-4 Filed 03/14/08 Page 7 of 14

Monthly Attachments

The section below contains links to the Pharmacy Dashboard, Pharmacy Inspection Grid,
and other important tracking grids and attachments provided for review.

‘Appendix A - Pharmacy Dashboard

Pharmacy Dashboard

Appendix B - Pharmacy Inspection Grid

BS

Pharmacy Inspection
Grid

Appendix C ~ Maxor Timeline and Tracking Grid

Appendix C Revision
10.3.07 draft

Appendix D — Maxor Proposed Road Map Objective Changes

a

Proposed Road Map
Objective Changes

October 2007 Monthly Report

Page 8 of 14

Filed 03/14/08

Case 2:90-cv-00520-KJM-SCR Document 2725-4

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Page 9 of 14

Filed 03/14/08

Case 2:90-cv-00520-KJM-SCR Document 2725-4

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Page 10 of 14

Filed 03/14/08

Case 2:90-cv-00520-KJM-SCR Document 2725-4

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Page 11 of 14

Filed 03/14/08

Case 2:90-cv-00520-KJM-SCR Document 2725-4

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Page 12 of 14

Filed 03/14/08

Case 2:90-cv-00520-KJM-SCR Document 2725-4

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uosUd ayzig AS|IIBA Weseald - dSAd

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Page 13 of 14

Filed 03/14/08

Case 2:90-cv-00520-KJM-SCR Document 2725-4

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Page 14 of 14

Filed 03/14/08

Case 2:90-cv-00520-KJM-SCR Document 2725-4

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